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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

JERRY L. BILLINGSLY,
Plaintiff,
VS.

NO. 02-2920 BV

SHELBY COUNTY, et al.,

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Defendants.

 

ORDER DENYING PLAINTIFF'S SECOND MOTION TO STRIKE DEFENDANT
OFFICER JON KIRKLAND’S SUPPLEMENTAL RULE 26(a)(1) DISCLOSURES
(NO. 147)

 

Before the court is the April 19, 2005 motion of the
plaintiffl Jerry L. Billingsley, proceeding pro se, entitled “Pro
Se Plaintiff's Objection, to Defendant’s Rule 26(a)(l) and Motion
for Clarification, on How to Proceed, and Remedy.” U.S. District
Judge J. Daniel Breen construed the motion as an objection and
motion to strike the defendant's supplemental Rule 26(a)(l)
disclosures that were presented on or about February 25, 2005. The
plaintiff contends the supplemental disclosures contain the names
of individuals who were not previously disclosed to him and whom he
has not had an opportunity to depose. The motion was referred to
the United States Magistrate Judge for a determination. For the
following reasons, the motion is denied.

Billingsley filed his first motion in opposition to the

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with Hu\e 58 and/or 79{&1) FF\CP on 5" 13 " told

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defendant Jon Kirkland’s supplemental disclosures on March 9, 2005.
The court treated the first motion as a motion to strike and denied
the motion because the certificate of service filed by Billingsly
was defective and Billingsley failed to attach his discovery
requests and Officer Jon Kirkland’s initial and supplemental
disclosures to the motions.

Billingsley has again failed to attach Officer Jon Kirkland's
supplemental disclosures to his current motion. Nor has
Billingsley sufficiently explained to the court why he would be
prejudiced if not permitted to depose the individuals named in
Kirkland’s supplemental disclosures. Consequently, the court is
unable to determine the number of individuals named in the
supplemental disclosures who were not previously disclosed, the
nature of the relevant information possessed by these individuals,
whether the information possessed by these individuals was
available through other sources, and what prejudice, if any, would
result to the plaintiff if these individuals were not deposed. In
addition, Billingsley had failed again to consult with defense
counsel before filing his motion.

Accordingly, Billingsley's motion is denied.

IT IS SO ORDERED this llth day Of May, 2005.

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UNITED sTATEs MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 166 in
case 2:02-CV-02920 Was distributed by faX, mail, or direct printing on
May 13, 2005 to the parties listed.

 

 

Dedrick Brittenum

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

1\/lemphis7 TN 38103

Jerry L. Billingsley
1670 Altavista
1\/lemphis7 TN 3 8127

Betsy McKinney

GODWIN MORRIS LAURENZI & BLOON[FIELD, P.C.
50 N. Front St.

Ste. 800

1\/lemphis7 TN 38103

J. Phillip Kerley

BREAKSTONE & ASSOCIATES
200 Jefferson Ave.

Ste. #725

1\/lemphis7 TN 38103

Henry L. Klein

APPERSON CRUMP & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

1\/lemphis7 TN 38119--397

Deborah A. GodWin

GODWIN MORRIS LAURENZI & BLOON[FIELD, P.C.
50 N. Front St.

Ste. 800

1\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

